444 F.2d 219
    George A. OTTO, Plaintiff-Appellant,v.HOUSTON BELT &amp; TERMINAL RAILWAY COMPANY, Defendant-Appellee.
    No. 71-1436 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    June 16, 1971.
    
      Appeal from the United States District Court for the Southern District of Texas; John V. Singleton, Jr., District Judge.
      Ben G. Levy, Houston, Tex., for plaintiff-appellant.
      Tommy B. Duke, A. J. Harper, II, Houston, Tex., for defendant-appellee; Fulbright, Crooker, Freeman, Bates &amp; Jaworski, Houston, Tex., of counsel.
      Before WISDOM, COLEMAN and SIMPSON, Circuit Judges.
      PER CURIAM:
    
    Affirmed.1 See Local Rule 21.2
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; See Isbell Enterprises, Inc. v. Citizens Casualty Company of New York et al., 5 Cir. 1970, 431 F.2d 409, Part I
      
      
        1
         The decision below is reported as Otto v. Houston Belt &amp; Terminal Railway Company, S.D.Tex.1970, 319 F.Supp. 262
      
      
        2
         See NLRB v. Amalgamated Clothing Workers of America, 5 Cir. 1970, 430 F.2d 966
      
    
    